Case: 4:97-cr-00141-ERW Doc. #: 671 Filed: 03/14/17 Page: 1 of 2 PageID #: 203

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                    March 8, 2017


Clerk
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
111 S. 10th Street, Rm. 24329
St. Louis, MO 63102


      Re: Billie Jerome Allen
          v. United States
          No. 16-8229
          (Your No. 14-3495)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
March 1, 2017 and placed on the docket March 8, 2017 as No. 16-8229.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Jacob C. Travers
                                        Case Analyst




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Case: 4:97-cr-00141-ERW Doc. #: 671 Filed: 03/14/17 Page: 2 of 2 PageID #: 204
                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                              VOICE (314) 244-2400
Michael E. Gans
                                                                                FAX (314) 244-2780
 Clerk of Court
                                                                              www.ca8.uscourts.gov



                                                            March 14, 2017


Mr. Gregory J. Linhares
U.S. DISTRICT COURT
Eastern District of Missouri
111 S. Tenth Street
Saint Louis, MO 63102-0000

       RE: 14-3495 Billie Allen v. United States

Dear Clerk:

        Enclosed is a copy of a letter from the Supreme Court stating certiorari has been filed in
the referenced case.

                                                            Michael E. Gans
                                                            Clerk of Court

SRD

Enclosure(s)


          District Court/Agency Case Number(s): 4:07-cv-00027-ERW




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